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 5                               UNITED STATES DISTRICT COURT
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        NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
 7
 8
     RAMAT B. MOMOH,                             Case No.: 3:15-cv-04729-HSG
 9
                    Plaintiff,
10                                                  ORDER
             vs.
11
     WELLS FARGO BANK, N.A.,
12
                   Defendant.
13                               Defendants.
14
15
             Upon review of the Stipulation to Dismiss Wells Fargo Bank, N.A. with Prejudice
16
17   (Doc. 49), filed by Plaintiff Ramat B. Momoh and Defendant Wells Fargo Bank, N.A..

18   and good cause appearing,
19           IT IS ORDERED granting the Stipulation (Doc. 49). The above-entitled matter is
20
     hereby dismissed with prejudice, with the parties to bear their own costs and attorneys’
21
22   fees.

23   Dated: January 31, 2017                          ____________________________
                                                      Honorable Haywood S. Gilliam, Jr.
24                                                    United States District Judge
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28

                                                                                         ORDER
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